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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



DONNA CURLING, et al.,
   Plaintiffs,
                                           Civil Action No. 1:17-CV-2989-AT
      v.

BRAD RAFFENSPERGER, et al.,
    Defendants.


    MOTION TO ALLOW DISPOSITION OF VOTING EQUIPMENT

      During the course of this litigation, this Court has entered a variety of

orders related to preservation of the State’s prior voting system, which

consisted of Diebold AccuVote Direct Recording Electronic (DRE) touchscreen

voting machines and associated components, including GEMS servers, memory

cards, AccuVote optical scanners, and Express Poll electronic pollbooks

(collectively, the “DRE System”). See [Docs. 122, 123, 668, 745]. Some of those

components are currently being stored by the State and others are stored by

Cobb, Fulton, and DeKalb Counties. See [Docs. 210, p. 3; 668; 735-1, ¶ 12].

      At summary judgment, this Court dismissed claims related to the DRE

System. [Doc. 1705, pp. 109–10]. Further, at trial, Plaintiffs acknowledged that

they were no longer pursuing claims regarding the DRE System aside from any

connection to the prior voter-registration system. Tr. Vol. VII 226:20–227:1.




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      Now that the trial in this matter is complete, allowing Defendants and

the counties still maintaining equipment to dispose of that equipment will free

up space and resources for use in running the 2024 elections. Because the

maintenance of DREs and their associated equipment is no longer necessary,

Defendants request that the Court order the following related to the

disposition of equipment from the prior voting system:

      1. Dissolve all prior orders related to the preservation of components of

         the DRE System, including but not limited to [Docs. 122, 123, 668,

         and 745].

      2. Permit officials in Cobb, DeKalb, and Fulton Counties to return any

         components of the DRE System that were sequestered by prior orders

         of this Court and/or that are being stored because of this litigation to

         State Defendants for disposition.

      3. Permit State Defendants to dispose of all components of the DRE

         System, including all DRE touchscreen units, GEMS servers, memory

         cards, AccuVote optical scanners, and Express Poll electronic

         pollbooks in any manner they determine is appropriate.

      Counsel for Defendants contacted Plaintiffs’ counsel by email providing

a proposed stipulated order on this issue on March 27, 2024, and again on April

1, 2024. Counsel for Plaintiff Ricardo Davis responded that Plaintiff Davis has

no objection and consented to the proposed order. Counsel for Curling and


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Coalition Plaintiffs have not responded, so Defendants are unaware of their

position on this motion.



      Respectfully submitted this 5th day of April, 2024.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has

been prepared in accordance with the font type and margin requirements of

LR 5.1, using font type of Century Schoolbook and a point size of 13.


                                          /s/ Bryan P. Tyson
                                          Bryan P. Tyson




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